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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------
UNITED STATES OF AMERICA,

-v-                                                           18 Cr. 224 (AJN)

ALI SADR HASHEMI NEJAD,

                                    Defendant.
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                                               DECLARATION

         1. My name is Audrey Strauss, and I am the Acting United States Attorney for the Southern

District of New York.

         2. I hereby certify under penalty of perjury pursuant to 28 U.S.C. § 1746 that all current

Assistant United States Attorneys and Special Assistant United States Attorneys in this Office

have confirmed in writing that they have read this Court’s September 16, 2020 decision in this

case.



Executed on September 23, 2020.



                                                       __________________________
                                                       Audrey Strauss
                                                       Acting United States Attorney
                                                       Southern District of New York
